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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

          COMMSCOPE, INC., et al.,               .
                                                 .
                   Plaintiffs,                   .
                                                 . Case No. 19-cv-15962
          vs.                                    .
                                                 . Newark, New Jersey
          ROSENBERGER TECHNOLOGY                 . February 19, 2025
          KUNSHAN CO., LTD., et al.,             .
                                                 .
                   Defendants.                   .


                                 TRANSCRIPT OF HEARING
                        BEFORE THE HONORABLE LEDA DUNN WETTRE
                            UNITED STATES MAGISTRATE JUDGE

          This transcript has been SEALED (AVAILABLE FOR PARTIES; NOT
          AVAILABLE FOR THE PUBLIC) pursuant to Loc. Civ. R. 5.3(c)(2).

          This transcript has been reviewed and revised in accordance
          with L. Civ. R. 52.1.


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       1                           (Commencement of proceedings)

       2

       3                 THE COURT:         Okay.     Good afternoon.         We are on the

       4   record in CommScope Inc. versus Rosenberger, et al.,

       5   19-cv-15962.

       6                 This is Magistrate Judge Wettre.                   We're here for a

       7   status conference.

       8                 And may I have appearances starting with the

       9   plaintiff's counsel.

      10          (Simultaneous conversation)

      11                 MS. SALMON-SMITH:            Good afternoon, Your Honor --

      12          (Simultaneous conversation)

      13                 MALE SPEAKER:          Go ahead, Tracey.

      14                 MS. SALMON-SMITH:            Good afternoon, Your Honor.

      15   Sorry.

      16                 Tracey Salmon-Smith as local counsel for plaintiff.

      17                 THE COURT:         Good afternoon.

      18                 MR. KARG:        Good afternoon, Your Honor.              This is

      19   Steve Karg from Norris McLaughlin, local counsel for

      20   plaintiffs.

      21                 THE COURT:         Okay.     And I'll reserve my greetings to

      22   you all until the end.              Go ahead.

      23                 MR. KAHNKE:         All right.        This is Randy Kahnke on

      24   behalf of the plaintiff.

      25                 MS. MAPPES:         This is also Harmony Mappes from
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       1   Faegre on behalf of plaintiff.

       2                 MS. SALLSTROM:           Anna Sallstrom also on behalf of

       3   plaintiff.

       4                 MR. WASHBURN:          And Bryan Washburn from Faegre on

       5   behalf of plaintiffs.

       6                 THE COURT:         Okay.     Is that all for plaintiff?

       7                 MR. KAHNKE:         Yes.

       8                 THE COURT:         Okay.     Good afternoon to all of you.

       9                 And may I have appearances from defendants?

      10                 MR. KIM:        Sy Kim from Cullen & Dykman, local

      11   counsel for defendants.

      12                 MR. FILARDO:          Vincent Filardo Jr. from King & Wood

      13   Mallesons on behalf of defendants.

      14                 MR. PELLEGRINO:            And Nicholas Pellegrino from

      15   King & Wood Mallesons on behalf of defendants.

      16                 THE COURT:         Okay.     That's everyone for defense?

      17                 MR. FILARDO:          Yes, it is, Your Honor.

      18                 THE COURT:         Okay.     And good afternoon to all of

      19   you.

      20                 So I did receive your joint letter of

      21   February 12th, 2025, which is under seal at ECF 611.

      22                 I'm going to provisionally seal this transcript at

      23   this time subject to unsealing certain parts that may not be

      24   confidential, you know, down the road once counsel have a

      25   chance to review the transcript.
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       1          (Proceedings sealed)

       2                 THE COURT:         All righty.        So I did review the letter

       3   of February 12th.           And before we get into some of the issues

       4   raised in it, I wondered if, first, plaintiff's counsel, then

       5   defense counsel could give me an update on where things stand

       6   relative to the discovery schedule that was set.                        And, for

       7   instance, I'm looking to learn from counsel whether they, in

       8   fact -- all expert reports have now been served.

       9                 So we'll start with plaintiff's counsel.

      10                 MR. KAHNKE:         Yes, all expert reports have been

      11   served, Your Honor.

      12                 THE COURT:         Okay.

      13                 And, Defense Counsel, same for you?

      14                 MR. FILARDO:          Yes, Your Honor, that's correct.              All

      15   have been served.

      16                 THE COURT:         Okay.     And then is it also correct that

      17   none of the experts' depositions have yet been taken?

      18                 MR. KAHNKE:         That is correct.

      19                 THE COURT:         Okay.

      20                 Defense same?

      21                 MR. FILARDO:          Correct, Your Honor.

      22                 THE COURT:         Okay.

      23                 MR. FILARDO:          Yup.

      24                 THE COURT:         So to the extent an extension is being

      25   sought, it's to depose experts; is that correct?
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       1                 MR. FILARDO:          Your Honor, this is Vincent Filardo

       2   on behalf of defendants.

       3                 That is correct.            That's -- the basis for it is in

       4   our papers.        I'm happy to discuss it.               But that's correct,

       5   just for the depositions of experts.

       6                 THE COURT:         Okay.     And then this is touching on

       7   some of the issues in the letter, but I know there's a

       8   request from defendants for certain valuation-related

       9   documents in the transaction between the previous plaintiffs

      10   and then prospective new plaintiff.

      11                 Does defendant anticipate that if they received

      12   certain responsive materials, they might have to amend any of

      13   their expert reports?

      14                 MR. FILARDO:          Your Honor, that is -- that is

      15   possible.       We may have to supplement our expert reports.

      16                 THE COURT:         Okay.     And which -- how many of your

      17   expert reports might that affect?                   I mean, I imagine some are

      18   unrelated to valuation issues.

      19                 But you tell me how -- approximately how many of

      20   your experts might be impacted by responsive information that

      21   may be produced?

      22                 MR. FILARDO:          I think it may be as many as three:

      23   valuation; security, which touched on a number of issues; and

      24   some technical issues as well.                  So --

      25          (Simultaneous conversation)
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       1                 MR. FILARDO:          -- three reports.

       2                 THE COURT:         Okay.     And how many other experts do

       3   you have?

       4                 MR. PELLEGRINO:            Hi, Your Honor, this is Nick

       5   Pellegrino.        We have five experts.

       6                 THE COURT:         Okay.     Out of a total of five.           Okay.

       7   Three of defendants' five experts.

       8                 All right.         So that overview is helpful.

       9                 Now let me just turn it over -- not to get

      10   heavy-duty into any of the issues in the letter because we'll

      11   do that topic by topic.

      12                 But is there anything, Mr. Kahnke, you or your

      13   colleagues would like to raise with the Court or provide by

      14   way of a general update?

      15                 MR. KAHNKE:         Sure.      I would just say, Your Honor,

      16   we have produced -- this deal, this transaction, where

      17   Amphenol acquired the relevant portion of CommScope's

      18   business, was announced last July, and we've produced a

      19   substantial volume of documents.                   The expert reports have

      20   been -- the deadlines have been extended substantially.

      21   We've effectively had an additional six months of discovery

      22   if we go back and look at even before -- beyond the dates

      23   that are mentioned in the letters.

      24                 And we just want to keep moving -- we would like to

      25   keep things moving forward.
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       1                 I will just say that there is -- I take your

       2   guidance that we don't want to get too much into the

       3   letter -- you'll take that issue by issue.                       But I think

       4   there's an assumption that there were certain types of

       5   valuations done; the defendants are making those assumptions.

       6   And if we could provide to the Court a declaration from

       7   Amphenol, that might lay this to rest such that there is --

       8   we have clarity around this and we can move forward.

       9                 They want an extension.               We're saying, fine.         We're

      10   happy to accommodate the extension; if opposing counsel needs

      11   it, so be it.         We want to be accommodating in that regard.

      12                 But we really do need to keep the summary judgment

      13   moving forward.          Discovery has been substantially complete

      14   for over a year -- fact discovery.

      15                 And, boy, we just really need to keep the things

      16   moving forward here.             That's what I would say by overall

      17   update, Your Honor.

      18                 THE COURT:         Okay.     Thank you.

      19                 And, Defense Counsel, anything general you want to

      20   say?

      21                 MR. FILARDO:          Your Honor, all this additional

      22   discovery is not due to any request of defendants.                         You know,

      23   it's all -- they come as part of the record because of the

      24   change in situation, the sale of the OWN, business -- that's

      25   the outdoor wireless network business of CommScope, and
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    1   because of CommScope's expansion generally of the claims in

    2   this case.        We've just reacted out of, you know, a need to

    3   have discovery in order to put forth our defenses.

    4                 This particular discovery, which, by and large,

    5   we're close to finishing, is just the close -- the end of the

    6   closing documents that are called out literally, expressly in

    7   the actual sale document.               So we can get into that, as

    8   Your Honor has pointed out.                But that's where our requests

    9   come from.        It's not out of, you know, a desire to just

  10    extend this case any longer than necessary.

  11                  THE COURT:         All right.        Well, let me jump a little

  12    bit out of order into one of the issues which touches on what

  13    you're talking about, which I'm wondering if defendants -- I

  14    know there's arguments about getting any valuated --

  15    valuation-related transactional documents from the

  16    plaintiffs.

  17                  But has a formal discovery request for such

  18    documents been served on plaintiffs?

  19                  MR. FILARDO:          Previously, Your Honor.          This goes

  20    back to when we were first before Your Honor asking for an

  21    extension on the expert reports; that is when we discussed,

  22    you know -- propounded our discovery requests to the

  23    plaintiffs related to these materials.

  24                  And then we've had meet and confers, several --

  25    probably at least four or five -- on these particular issues
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    1   with respect -- and what I mean by "these particular issues"

    2   are our document requests.

    3                 THE COURT:         Okay.     So does that mean you received

    4   ambiguous responses to the requests?                     For instance,

    5   plaintiffs did not respond "none" but they asserted

    6   objections and you just couldn't tell if there were

    7   responsive documents that were being withheld?

    8                 What generally -- give me the flavor of the

    9   responses you got back.

  10                  MR. FILARDO:          Well, no formal written responses

  11    other than our own letters back and forth with respect to --

  12                  THE COURT:         Okay.     Well, that's one item of cure.

  13    I mean, I don't need plaintiffs filing declarations on the

  14    docket about discovery.

  15                  That's -- Mr. Kahnke, to the extent your client is

  16    willing to say that no documents exist, that should be done

  17    in response to their discovery demands.

  18                  MR. KAHNKE:         There are no formal discovery

  19    requests, Your Honor.

  20                  THE COURT:         I thought Mr. Pellegrino or Mr. Filardo

  21    just told me a moment ago that they did propound discovery

  22    requests.

  23                  MR. FILARDO:          All in letters, Your Honor.           All --

  24    written --

  25                  THE COURT:         Okay.
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    1                 MR. FILARDO:          -- in written letters.

    2                 THE COURT:         Okay.     So this is what we're going to

    3   do because I think the federal rules are the best way to

    4   handle this.

    5                 So you're going to propound a set of RFPs detailing

    6   what you want, and those are going to be extremely discrete;

    7   just as to any valuation-related transactional documents, as

    8   I understand it.

    9                 And then CommScope shall have 14 days to respond to

  10    it.

  11                  And then that should lend some clarity.

  12                  How does that sound?

  13                  MR. FILARDO:          That's fine for the CommScope-related

  14    documents, Your Honor, yes.

  15                  THE COURT:         All right.

  16                  So, Defendants' Counsel, when do you want to -- how

  17    soon can you serve your RFPs on that topic?

  18                  MR. FILARDO:          Next Wednesday?

  19                  THE COURT:         Okay.

  20                  And I have that as the 26th.

  21                  And I'll give plaintiff 14 days to respond to that.

  22    And if it's as simple as no documents in those categories

  23    exist, we'll close out the issue.                   I mean, I don't mean to be

  24    overly simplistic.

  25                  Where do you think that could run into problems?
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    1                 MR. FILARDO:          Your Honor, I think that's fine.               I

    2   think we're following -- you know, that's provided under the

    3   federal rules.          That's fine.         If we have a -- you know, any

    4   issue with their response, we'll seek a meet and confer with

    5   them.

    6                 THE COURT:         Okay.     You've got to bring it to me

    7   quickly if there is a problem with that.

    8                 So why don't I say -- all right.                    So February 26th,

    9   they will be propounded.

  10                  And then March 12th or 13th, there will be a

  11    response, and any remaining issues as to this shall be raised

  12    with the Court by joint letter on or before March 21st.

  13                  Okay?

  14                  All right --

  15           (Simultaneous conversation)

  16                  THE COURT:         Yeah, okay.        All right.       And I

  17    thought -- I think it was Mr. Pellegrino, did you qualify

  18    when you played back what I said about serving discrete

  19    document requests?            Did you say, that will be fine as to

  20    CommScope, but was there something else that you're wishing

  21    to propound?         Or some other category of documents?

  22                  MR. FILARDO:          Oh, Your Honor -- this is Vincent

  23    Filardo.       That was me.

  24                  THE COURT:         Okay.

  25                  MR. FILARDO:          That was -- the documents we're all
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    1   talking about are documents that we've requested of

    2   CommScope.        That's why I qualified --

    3                 THE COURT:         Okay.     Okay.      I got you.

    4                 All right.         I just wanted to make sure I wasn't

    5   missing something.

    6                 All right.         So let's talk about the substitution of

    7   the new plaintiff for the CommScope entities.                      I'm wondering

    8   whether you all can just have a stipulation if it is the case

    9   that the new plaintiff is standing one hundred percent in the

  10    shoes of the old plaintiff or plaintiffs with respect to

  11    claims, defenses, and everything else concerning the lawsuit.

  12                  Mr. Kahnke, what do you say to that?

  13                  MR. KAHNKE:         Yeah, I think that's reasonable,

  14    Your Honor.        And we -- I mean, that's effectively what we

  15    understand Rule 25 does by operation of the rules.                       And we

  16    have, in fact, proposed a stipulation to the defendants that

  17    I think is in step with what you just described.

  18                  THE COURT:         All right.

  19                  So what -- what is defense counsel still worried

  20    about?

  21                  MR. FILARDO:          Your Honor, it's Vincent Filardo.

  22                  I think we can -- and I've discussed with

  23    Mr. Kahnke that -- exactly that, consenting to it.

  24                  But the basis for this, even under the case law,

  25    relevant case law, is that there shouldn't be any prejudice
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    1   that's visited upon defendants as a result of the actual

    2   substitution.         And I think there -- there may be -- because

    3   we haven't seen a number of issues related to our defenses

    4   with respect to ownership of the trade secrets, how that's

    5   changing or not changing and if that's going to affect our

    6   defense on that line and then also with respect to a

    7   potential conflict of interest that I raised with Mr. Kahnke

    8   with respect to my firm and one that may, indeed, even exist

    9   with respect to his firm, given the fact that Amphenol is a

  10    direct competitor of CommScope and they're opposite each

  11    other on this deal and post-closing issues happen -- I am not

  12    suggesting that those things can't be overcome.                      I think they

  13    can be -- even -- you know, to the extent that there's just a

  14    waiver, a blanket waiver that's made by Amphenol.                       But if we

  15    can resolve those potential issues of prejudice, then that

  16    goes, you know, towards our issue of agreeing to stipulate

  17    in.

  18                  I've also raised the fact that -- with Mr. Kahnke

  19    and you've seen it in our letters that, you know, we think

  20    that there is a fundamental difference between Amphenol and

  21    CommScope and that's not an exact standing in the shoes.                          But

  22    there are going to -- because they're such a big player and

  23    are such a big player in this marketplace, they are going to

  24    have preexisting positions with respect to some of the issues

  25    in this lawsuit.           They can't -- you know, walk away from
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    1   those.      And we're entitled to inquire into them, especially

    2   if they're going to be a plaintiff in this action, they're

    3   going to be subject to an appearance at trial.

    4                 So that was a separate issue that I raised.

    5                 But the primary one was prejudice as a result of

    6   the substitution.

    7                 THE COURT:         Hmmm.     Okay.

    8                 Mr. Kahnke, any response?

    9                 MR. KAHNKE:         Yeah.      It is not -- I think Rule 25

  10    addresses that.          That is the purpose of Rule 25.

  11                  And the stipulation is clear and tracks Rule 25 --

  12    and I think tracks what Your Honor outlined.                        I think it says

  13    that the substitution will not -- you know, everyone will

  14    preserve all of their claims and defenses.                        The substitution

  15    is not going to -- it's merely a procedural device to get the

  16    proper party before the Court.

  17                  I think that the --

  18                  THE COURT:         But say the new --

  19           (Simultaneous conversation)

  20                  MR. KAHNKE:         -- clear on that.

  21                  THE COURT:         But take note, Mr. Pellegrino's [sic]

  22    point.      Say the new plaintiff has made statements and, you

  23    know, representative statements, under-oath statements or

  24    representations, that would constitute admissions against

  25    interest in this case.              Shouldn't -- shouldn't the defense be
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    1   able to take advantage of those, inquire about them, get them

    2   on record?        I mean, they are different companies.

    3                 MR. KAHNKE:         Yeah, I -- let's just assume, I guess

    4   for the sake of the discussion, that such things exist, which

    5   is a significant assumption.                 None of that -- to start, there

    6   are a number of different companies that participate in this

    7   industry, including Amphenol and CommScope.                       And discovery of

    8   that sort was never sought during the years-long discovery

    9   phases of this case.

  10                  And so I just -- I just don't see -- and I -- can I

  11    say -- I

  12                                                       So, for example, if we look

  13    at the letter to Your Honor on page 5, defendants' portion,

  14    right in the middle of the page, it says:                       [As read]

  15    Evidently a, quote,

  16

  17

  18

  19                   That's just -- and representing now as an officer

  20    of the Court, Your Honor -- that is just inaccurate.                        I mean,

  21    that's an assumption that they're making.

  22

  23                               And we also have said that there is --

  24

  25                                           It simply did not occur.
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  11                   So when I say that there's a significant assumption

  12    when we talk about admissions or something of that nature, I

  13    think that the assumptions simply do not apply here.                         And, of

  14    course, they never sought third-party discovery of other

  15    companies in the industry during the extensive discovery

  16    phase.

  17                   So -- and I don't see how that relates to

  18    substitution.

  19                   THE COURT:        All right.        Well, I mean, I -- I can

  20    understand why they would want the discovery.                      I mean,

  21    even -- and I can think of circumstances where counsel -- and

  22    I am not sure that would be privileged across transactional

  23    parties -- could have, without specifying any of the

  24    confidential information, still have opined on the value of

  25    this case based upon what they have seen and not disclosed in
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    1   detail.

    2                 So, I mean, I can definitely see why the defendants

    3   want to make sure that there's no "there" there.

    4                 So -- but I think with that, we start with the set

    5   of RFPs -- now we're talking about the substitution.                        I think

    6   you all have to kick it around some more and meet and confer

    7   and see if plaintiff can address whatever legitimate concerns

    8   the defendants have.

    9                 And if they can't -- and maybe that can't be

  10    decided until after responses to the RFPs are due.                       So there

  11    is going to be some delay.                The new party is not going to get

  12    right in under the protective order.                     And, you know, I think

  13    we have to look before we leap.

  14                  And, you know, that's -- I know they're probably

  15    chomping at the bit to get substituted, but we're going to

  16    make sure it's done carefully and correctly.

  17                  So I think you need to talk about whether there

  18    needs to be a motion for substitution under Rule 25 or you

  19    can reach a stipulation.                I think that's going to ride a

  20    little bit until at least around the March 21st time when

  21    you'll send me a joint letter.                  Maybe you'll fold that in if

  22    there's still an issue.

  23                  I'm happy to hear you in response to that.                    That's

  24    just my thoughts.

  25                  MR. KAHNKE:         No.     I think -- Randy Kahnke here.
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    1                 Oh, I'm sorry.           Go ahead, then.

    2                 MR. FILARDO:          No, Your Honor, I was just going to

    3   say that's fine with defendants.                     If I may -- I mean, just to

    4   respond to some of these points that Mr. Kahnke raised

    5   earlier and Your Honor really addressed them, but, plain and

    6   simple, Amphenol's not a third party anymore.                         They're going

    7   to be a plaintiff if they're allowed in by the Court.

    8                 And our, you know, statements in letter had to do

    9   with literally documents that were identified to be produced.

  10    And I hear Mr. Kahnke                                                        .   But

  11    that doesn't mean those closing documents wouldn't have other

  12    relevant information

  13

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  16                   I mean,

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  18                                                    .

  19                   So these are important for us to really fill out,

  20    you know, the whole -- you know, deal as it's been presented.

  21    Seems like it would have all this stuff in it or at least

  22    statements with respect to why they're not in there.

  23                   THE COURT:        Okay.     Well, I certainly think you are

  24    entitled to explore that.                And so you'll start with your

  25    federal rules requests.
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    1                 And if it has to go further than that, it's -- I'm

    2   going to have to -- I'll have to rule on that.                         Okay?

    3                 MR. FILARDO:          Okay.

    4                 THE COURT:         That follow-up deposition is in order

    5   and the like.         But let's take -- let's take it one step at a

    6   time.

    7                 And that --

    8                 MR. FILARDO:          Thank you.

    9                 THE COURT:         And I hear you, Mr. Kahnke, on wanting

  10    to move the case now.             But things have happened along the

  11    way.     And I never got the impression that anyone was in a

  12    particular "hair on fire" hurry in this case.                         And then

  13    things closed down in China for a year.                         So I think this is a

  14    worthwhile pause to make sure that the defendant's not

  15    prejudiced by, you know, a pretty big change in the case.

  16                  All right.

  17                  I already touched on -- I think the expert

  18    schedule's going to have to hold a little bit because if, in

  19    fact, experts have to amend their reports, then, you know,

  20    it's going to have to play out based upon what's produced by

  21    the plaintiff.          And so I'm going to hold -- I'm going to hold

  22    the schedule.

  23                  I'll put something to keep you from panicking.                        So

  24    the -- why don't I put the expert -- the conclusion of expert

  25    depositions, the deadline -- or conclusion of expert
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    1   depositions will be reset by the Court after the foregoing --

    2   which, in my order, will be the details about RFPs and joint

    3   letters and all that.

    4                 All right.         Anything further on that?

    5                 MR. KAHNKE:         Not from the plaintiff, Your Honor.

    6                 MR. FILARDO:          Not from defendants, Your Honor.

    7                 THE COURT:         Okay.

    8                 And then I had kind of thoughts that nobody would

    9   like about could summary judgment on liability proceed while

  10    the valuation expert reports were in flux.

  11                  So I'll throw it out to you.

  12                  Why don't I ask defendants that question.

  13                  MR. FILARDO:          On liability, Your Honor?           I think

  14    twofold:       Number one, there could be issue -- there may be

  15    issues that are raised in these documents and/or once -- or

  16    if Amphenol comes in and we have an opportunity to inquire

  17    into their documents, that would affect the actual substance

  18    on liability.         Obviously, lack of damages is an element to

  19    all of these claims, to the extent that there is an issue

  20    there, which we think there is based upon our expert reports.

  21    And we do intend to file simultaneous Daubert motions which

  22    are going to tie in with the summary judgments.                      They're

  23    necessary, really, to file together.                     So we can't do that

  24    until after the expert depositions are closed.

  25                   And there is a lot here to go through and prepare
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    1   for after the close of all expert discovery.                      I mean, we

    2   think we can do it on a reasonable schedule but not the

    3   schedule proposed by plaintiffs, you know, in their recent

    4   letter.      I mean, we haven't even formulated all of our issues

    5   yet.     You know, we --

    6          (Simultaneous conversation)

    7                 MR. FILARDO:          -- the plaintiffs, but not all.               And

    8   those may change.

    9                 THE COURT:         Okay.

  10                  Does plaintiff's counsel want to comment on that

  11    subject?

  12                  MR. KAHNKE:         No -- I do like this idea of moving

  13    forward with summary judgment.                  I mean -- I mean, fact

  14    discovery has long been closed.                  Yes, there's been a sale of

  15    the company.         But I really think that there's not been a

  16    material change in what the facts are underlying this case.

  17                  And I guess -- and I hear defense counsel saying

  18    that we need to get the Dauberts on damages before the Court

  19    at the same time as our ex- -- they're going to demonstrate

  20    that there are zero damages.

  21                   With respect, that is not going to happen.                   If --

  22    there are -- it's over a billion dollars that are issue.

  23    The -- we've got a report that runs to nearly a hundred pages

  24    from a University of Chicago-trained Ph.D. who is well-known

  25    and well-respected by the federal courts across the country,
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    1   and we're not talking about novel legal issues here, novel

    2   theories.

    3                 I think that it's a good idea to have summary

    4   judgment go forward on liability.                   They've got a whole series

    5   of bases that they've identified for us verbally that are --

    6   that go to liability that are independent of the damages

    7   issues.      And I think we could make progress on those with

    8   some --

    9                 THE COURT:         Well, why don't we hold on that until

  10    at least later in March when we see which way the other

  11    issues are going because if there is no additional

  12    valuation-related information and that can be demonstrated

  13    and then there's no need to have new expert reports, then I

  14    can set summary judgment in good conscience for everything.

  15    So let's just hold a little bit on that.                        I hear what both

  16    sides are saying.

  17                  And then when you ultimately do seek to move for

  18    summary judgment and on spoliation grounds, you'll file

  19    premotion letters on the docket, but you can address those to

  20    me.    You could address those to Judge Neals and me, but

  21    between the two -- he usually weighs in on Rule 12 motions in

  22    lieu of answer with premotion leave.                     And I usually handle

  23    the later motions to eyeball them and make sure they're ripe

  24    for filing.

  25                  So -- but we're not there yet.                    Let's just hold on
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    1   the dispositive motions.

    2                 And also I'm going to have to confer with him

    3   because some of the district judges don't want spoliation

    4   motions until trial, and they're adamant about it.                       Others

    5   treat it as, you know, a discovery sanction and will let the

    6   magistrate judge do at least an R&R on whether there should

    7   be adverse inference if there is -- spoliation is found.

    8                 So I'm not really sure where Judge Neals stands on

    9   that.     So give me a little bit of time to investigate that

  10    with him.

  11                  All righty.         So I think I got through the topics in

  12    the letters.

  13                  Is there anything that I missed that either side

  14    wants to raise?

  15                  And I'll turn to plaintiffs first.

  16                  MR. KAHNKE:         No.     We appreciate the Court's time

  17    and understand the guidance you are providing, Your Honor,

  18    about taking this step by step.                  I think you understand our

  19    position about the desire to move this forward.                      And we will

  20    follow your direction here and make sure that we're doing

  21    everything to make sure that we are moving it forward from

  22    our side.

  23                  THE COURT:         Okay.     Very good.

  24                  And, Defense Counsel?

  25                  MR. FILARDO:          Thank you, Your Honor, for your time
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    1   today.

    2                 We have nothing further to add.                   And I have nothing

    3   further to say in response to Mr. Kahnke with respect to his

    4   characterization.           I'll leave that for our meet and confers.

    5                 THE COURT:         Okay.     So what I'm going to do, don't

    6   hang up.       I'm going to take us off the record because I do

    7   want to have a closing discussion with you about something

    8   else.     Okay?

    9                 MR. KAHNKE:         Understood.

  10                  THE COURT:         All right.        Thanks.      Hold on.

  11                             (Conclusion of proceedings)

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